GREG H. BOWER
Ada County Prosecuting Attorney

Jan M. Bennetts

Deputy Prosecuting Attorney
200 W. Front Street, Room 3191
Boise, Idaho 83702

Telephone: (208) 287-7700

IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT OF

THE STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

THE STATE OF IDAHO, )

Plaintiff, 5 Case No. CR-FE-2008-0004642
vs. 5 RESPONSE TO DISCOVERY
JOSHUA LEE MCGIBONEY 5

Defendant. |

 

COMES NOW, Jan M. Bennetts, Deputy Prosecuting Attorney for Ada County,
State of Idaho, and makes the following Response to Discovery pursuant to Rule 16. In the
event any listed evidence or item(s) on a property invoice does not accompany this
response, it will be available for inspection, copying, or photographing as required by
Rule 16-B. Such inspection requires prior appointment and may be made between the
hours of 8:00AM and 5:00PM. Inspection may occur at the office of the Ada County
Prosecutor, or at the Ada County Sheriff’s Office Evidence Depository.

RESPONSE TO DISCOVERY (MCGIBONEY), Page 1
16-A Brady-Agurs Disclosure: The prosecution is unaware of any evidence that is
exculpatory on its face relating to the offense charged.

With regard to evidence that may be exculpatory as used or interpreted, the
prosecution requests that the defense counsel submit, in writing, the defense to be asserted
in this case so the prosecution can review its file to determine if any facts, evidence or
witnesses may be material to the preparation of that defense. In the alternative, the
prosecution offers to defense counsel an open file policy to review those documents in the
control and possession of the prosecution that may be exculpatory in some manner to the
offense charged.

16-B Stipulation - Request Disclosure:

(1) Statement of Defendant: The known statements of the Defendant are contained in
documents and information identified in subparagraph (4)(A) of this Response to
Discovery.

a. Audio Taped Confession/Statement;

b. Reflected in Police Reports and booking paperwork as listed below in this
response; and,

c. Preliminary hearing.

The prosecution is unaware of any grand jury proceedings in this case and any
recorded testimony as a result thereof. The prosecution hereby incorporates by reference
the statements made by or attributed to the defendant at his arraignment, the preliminary
hearing proceedings, or any subsequent court proceedings in this case.

(2) Statement of Co-Defendant: N/A

(3) Defendant's Prior Record: The Defendant’s prior record as listed in the NCIC
and described in the discovery documents listed below.

(4) Documents and Tangible Objects: Please find below a list of documents and/or
tangible objects obtained from the defendant or intended for use against the defendant at

trial.

RESPONSE TO DISCOVERY (MCGIBONEY), Page 2
A. Any and all tangible physical evidence or photographs or reproductions thereof

identified in the following documents:

1.
2. Ada County Jail Booking Sheet, consisting of one (1) page; 7”

3. Ada County Jail Booking/Arrest Detail, consisting of one (1) page; 40

4,

5. Photographs, fingerprint cards, and other documents generated during the

Ada County Rap Sheets/KQ as listed in the NCIC described below;

NCIC, consisting of fourteen (14) pages; AY ACH

jail booking process, whether for this arrest or another.

Physical Evidence: the State will use at trial the physical evidence as
described and listed on all of the property invoices disclosed in this
discovery response, review of the physical evidence is available upon
request,

Boise City Police Department Property Invoice, by Detective Lee, DR Br
#809-867, consisting of one (1) page front & back, with one (1) item,
DVD of Interview of Ryan Lowe;

Boise City Police Department Property Invoice, by Detective Lee, DR ON
#809-867, consisting of one (1) page front & back, with one (1) item,”
Photo Line Up;

Boise City Police Department Property Invoice, by Detective Ayotte, DR ok
#809-867, consisting of one (1) page front & back, with one (1) item,»

DVD of Interview of Bergerson;

10. Boise City Police Department Property Invoice, by Officer Linn, DR

#809-867, consisting of one (1) page front & back, with three (3) items, wh
including Smith & Wesson 9 mm handgun; magazine from handgun;
empty shell casing found in handgun items listed as Item No. 1 through

Item No. 3;

11. Boise City Police Department Property Invoice, by Officer A. Hilton, DR 4 a oO

#809-867, consisting of one (1) page front & back, with seven (7) items,

RESPONSE TO DISCOVERY (MCGIBONEY), Page 3
including shell casings, unfired rounds, knife sheath & metal bayonet, gr
items listed as Item No. 4 through Item No. 10;

12. Boise City Police Department Property Invoice, by Officer Kling, DR Kb
#809-867, consisting of one (1) page front & back, with one (1) item, x
Bandana;

13. Boise City Police Department Property Invoice, by Officer Schwenken,

DR #809-867, consisting of one (1) page, with eight (8) items, including wo
Joshua McGiboney’s clothing, items listed as Item No. 1 through Item No.
8;

14. Boise City Police Department Property Invoice, by Officer Schwenken,

DR #809-867, consisting of one (1) page, with five (5) items, including nx
David Bergerson’s clothing, items listed as Item No. 9 through Item No.
13;

15. Boise City Police Department Property Invoice, by Kinney, DR #809-
867, consisting of one (1) page, with four (4) items, including swabs from QP
the Smith & Wesson firearm, knife sheath and bayonet, items listed as
Item No. BK-1 through Item No. BK-4;

16. Boise City Police Department Property Invoice, by Det. Ayotte, DR
#809-867, consisting of one (1) page, with one (1) item, tubes of blood ox
from Defendant, Joshua McGiboney, June 26, 2008, item listed as Item
No. 1;

17. Boise City Police Department Property Invoice, by Det. Ayotte, DR #809-

867, consisting of one (1) page, with two (2) items, oral swab of victims, o\
Ryan Lowe and David Bergerson, June 26, 2008, items listed as Item No.
1 through Item No. 2;

18. Operations Log, Scribe Bristol, DR # 809-867, dated 4/3/08 to 4/4/08,

consisting of two (2) pages; \ 1

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RESPONSE TO DISCOVERY (MCGIBONEY), Page 4
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19. Boise Police Department, Photographic Line-Up and Admonition,
consisting of one (1) page, unsigned copy provided with this response, *\
(original signed Photographic Line-Up and Admonition booked into
_property and available upon request);

urriculum Vitae of Bridget A. Kinney, consisting of two (2) pages; yr vw

21. Certified Judgment of Conviction & related documents for Case No. 90
H0601450, consisting of seven (7) pages; wf

22. Ada County Paramedics Report for David Bergerson, dated 4/3/08, ay
consisting of four (4) pages;

23. Ada County Paramedics Report for Ryan Lowe, dated 4/3/08, consisting \?

of four (4) pages; \n"
24. 911 Dispatch Log (Incident History), consisting of nine (9) pages; oy!
25. Prisoner Hospitalization Activity Log, by Officer Richmond, DR #809-

867, consisting of one (1) page; gt

26. Diagram by Officer Hilton, DR #809-867, dated 4/4/08, consisting of one

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(1) page;
27. Boise Police Department, Crime Scene Investigation Photo Log, by
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Officer Kling, DR #809-867, consisting of one (1) page;
28. Boise Police Department, Crime Scene Investigation Photo Log, by ay
Officer A. Hilton, DR #809-867, consisting of two (2) pages;
29. Boise Police Department, Crime Scene Investigation Photo Log, by y u

Officer Linn, DR #809-867, consisting of two (2) pages; V7
30. Boise Police Department, Crime Scene Investigation Photo Log, b
Officer Schwenken, DR #809-867, consisting of two (2) pages; yv

31. Boise Police Department, Crime Scene Investigation Photo Log, by
Kinney, DR #809-867, consisting of one (1) page; \%\

32. Boise Police Department’s Crime Lab Evidence Processing Request, by
Officer A. Hilton, DR #809-867, consisting of one (1) page; rr

RESPONSE TO DISCOVERY (MCGIBONEY), Page 5
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33. Boise Police Department’s Crime Lab Evidence Processing Request, by AV
”

Officer Linn, DR #809-867, consisting of three (3) pages; WY
34, Boise Police Department ATF Firearm Trace Request, by Officer ann,
“A

DR #809-867, consisting of one (1) page;
o Contact Order, CRFE-XX-XXXXXXX, consisting of one (1) page; ww

36. Medical Records for David Bergerson, St. Alphonsus, consisting of forty- ht A
three (43) pages;

37. Medical Records for Ryan Lowe, St. Alphonsus, consisting of thirty-nine pur?
(39) pages;

38. Photographs of broken fence, handgun found in leaves, shoe prints and
surrounding area by Officer Linn, consisting of one (1) CD

39. Photographs of injuries of Defendant, Lowe & Bergerson at hospital;
photographs of clothing of Defendant and Bergerson at hospital (all by
Officer Schwenken); photographs of crime scene with placards marking
evidence and surrounding crime scene and residence (by Officer Hilton);
and photographs of broken fence and location of bandana in daylight on
4/4/08 (by Officer Kling), all contained on one (1) CD;

40. Photographs of evidence, including Smith & Wesson firearm, magazine,
casings, live rounds and knife/bayonet and sheath taken in the crime lab
by Bridget Kinney, consisting of one (1) CD;

41. 911 Audio Recording, consisting of one (1) CD;

42. Audio CD of Officers Hagler, Avella, Mathis, Gallas, Arend, Richmond,
& Newell, consisting of two (2) CD’s (all provided on these 2 CD’s);

43. DVD of Interview with Bergerson, by Detective Ayotte, consisting of one
(1) DVD;

44, DVD of Interview with Lowe, by Detective Lee, consisting of one (1)
DVD;

RESPONSE TO DISCOVERY (MCGIBONEY), Page 6
45. Any and all ACSO and BPD property room log sheets related to the
evidence listed in the property invoices as described above in this
discovery response above and as booked under DR #809-867, available
upon request.

46. Any and all Idaho State Lab log sheets and file materials relating to
evidence processed in the Idaho State Police Forensic Services Lab,
available upon request.

47. Detention Warrant and Affidavit For Detention Warrant, consisting of ap

ay six (6) pages; a

g | 48. Map of crime scene area, S. Orchard, W. Cassia St. and W. Camas, 9

Ss gO ‘consisting of one (1) page; 4p0
NS ‘) . 49. Curriculum Vitae of Rylene L. Nowlin, consisting of two (2) pages; agi"

50. Letter to Stuart Jacobsen, Idaho State Police, from Bridget Kinney,
dated June 23, 2008, regarding submission of firearm evidence for \\
ballistics examination and testing, consisting of one (1) page;

51. Idaho State Police, Forensic Services Evidence Submission/Receipt
Form for the firearm, magazine, live rounds, & casings, DR #809-867 X\
w/description of evidence, consisting of one (1) page;

52. Idaho State Police, Forensic Services Evidence Submission/Receipt
Form for the DNA testing, items listed as M7 through M22, DR #809- oe
867 w/description of evidence, consisting of two (2) pages; va MN

53. FedEx Packaging Receipt for firearm evidence submitted to Stuart
Jacobsen, Idaho State Police, Bureau of Forensics, consisting of one ay?
page.

B. Any maps, charts, diagrams or photographs, which the State may produce for
demonstrative purposes, available for review upon request:

a. Diagram/Sketch by Officer Hilton, described in (4)(A) above;

b. Diagram of interior residence of crime scene

RESPONSE TO DISCOVERY (MCGIBONEY), Page 7
c. Diagram of exterior crime scene
d. Diagram or map of surrounding area of crime scene, including areas
where handgun was located, bandana was located, Defendant was located
and areas surrounding those locations.
(5) Reports of Examinations and Tests:
a. Boise Police Crime Lab Reports:
a Criminalistics Analysis Report, by Bridget Kinney, DR# 809-
867, dated June 23, 2008, consisting of one (1) page \-
a Boise Police Department’s Crime Lab Evidence Processing
Request Forms, DR #809-867, consisting of four (4) pages; or"
ao Latent Print Analysis, by B. Kinney, DR #809-867, consisting of
two (2) pages. \yr "\

b. Fingerprint Comparison: Bridget Kinney, Boise Crime Lab, has not

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completed this fingerprint comparison. The fingerprint comparison
report, including underlying data, fingerprint cards, and other
documents associated with this report will be provided upon receipt.

c. Ballistics Report: handgun was submitted for Ballistics to Idaho State
Police Bureau of Forensic Services Lab in Coeur d’Alene, report to be
provided upon receipt.

d. Idaho State Police, Bureau of Forensic Services Lab Report:
evidence has been submitted for examination, analysis and DNA testing.
The report documenting the results of this analysis and testing; the
underlying data; chain of custody documents; and the lab analyst’s file
materials will be provided upon receipt. The Idaho State Lab will try to
have this testing done by the end of July, 2008.

(6) Witnesses: If the Home addresses and phone numbers of witnesses have been
deleted from the police reports and from this Response that may be provided to the

Defendant, we have done this for security purposes and the safety of these individuals. We

RESPONSE TO DISCOVERY (MCGIBONEY), Page 8
will provide the information upon request only to counsel and upon conditions that such

redacted information shall only be used by counsel or counsel’s investigator. In addition,

the State has listed the witnesses below; however, the State also puts counsel on notice of

all witnesses listed in the police reports and dispatch logs even if not specifically listed

below.

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Nick Anderson, c/o Ada County Prosecutor’s Office
Danielle Bedegi, c/o Ada County Prosecutor’s Office
Alicia Bergerson, c/o Ada County Prosecutor’s Office
David Bergerson, c/o Ada County Prosecutor’s Office
George Hulbert, c/o Ada County Prosecutor’s Office
Donnell Larison, c/o Ada County Prosecutor’s Office
Ryan Lowe, c/o Ada County Prosecutor’s Office

Trisha Lowe, c/o Ada County Prosecutor’s Office

Jody Osborn, c/o Ada County Prosecutor’s Office

Julie Roberts, c/o Ada County Prosecutor’s Office
Michael Roberts, c/o Ada County Prosecutor’s Office
Bill Tate, c/o Ada County Prosecutor’s Office

April Williamson, c/o Ada County Prosecutor’s Office
Travis Williams, c/o Ada County Prosecutor’s Office
Mrs. Zuniga, c/o Ada County Prosecutor’s Office
Officer Josh Arend, c/o Boise City Police Department
Officer Patrick Avella, c/o Boise City Police Department
Detective Mark Ayotte, c/o Boise City Police Department
Officer Cory Bammert, c/o Boise City Police Department
Sergeant Mark Barnett, c/o Boise City Police Department
Officer Becky Bristol, c/o Boise City Police Department
Officer David Burgard, c/o Boise City Police Department
Officer Norman Carter, c/o Boise City Police Department

RESPONSE TO DISCOVERY (MCGIBONEY), Page 9
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Officer Everett Corona, c/o Boise City Police Department
Officer Todd Ducharme, c/o Boise City Police Department
Officer Cody Evans, c/o Boise City Police Department
Officer Mark Furniss, c/o Garden City Police Department
Officer Rob Gallas, c/o Boise City Police Department
Officer John Goodman, c/o Garden City Police Department
Sergeant Bryan Hagler, c/o Boise City Police Department
Officer Richard Hernon, c/o Boise City Police Department
Officer Andrew Hilton, c/o Boise City Police Department
Sergeant Andy Johnson, c/o Boise City Police Department
Deputy Jason Jones, c/o Ada County Sheriff's Office
Officer David Kaurin, c/o Boise City Police Department
Officer Steve Keely, c/o Boise City Police Department
Deputy Bill Kelly, c/o Ada County Sheriff’s Office
Officer Jim Kling, c/o Boise City Police Department
Officer Matt Konvalinka, c/o Boise City Police Department
Sergeant Tim Kukla, c/o Boise City Police Department
Officer Jeremey Lacow, c/o Boise City Police Department
Deputy Dennis Laurence, c/o Ada County Sheriff's Office
Detective Brian Lee, c/o Boise City Police Department
Officer Andrew Linn, c/o Boise City Police Department
Sergeant Robert Little, c/o Garden City Police Department
Deputy Robbie Mace, c/o Ada County Sheriff's Office
Officer John Mathis, c/o Boise City Police Department
Officer Guy McKean, c/o Boise City Police Department

. Officer Darren Mitchell, c/o Boise City Police Department

Officer Larry Moore, c/o Boise City Police Department
Officer Laura Newell, c/o Boise City Police Department

RESPONSE TO DISCOVERY (MCGIBONEY), Page 10
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Officer Scott Nicholls, c/o Boise City Police Department
Officer Kip Paporello, c/o Boise City Police Department
Officer Steve Phan, c/o Boise City Police Department
Officer Terry Phillips, c/o Boise City Police Department
Officer Jason Pietrzak, c/o Boise City Police Department
Officer Michael Richmond, c/o Boise City Police Department
Officer Dustin Robinson, c/o Boise City Police Department
Sergeant Ronald Santucci, c/o Ada County Sheriff’s Office
Deputy Derek Savage, c/o Ada County Sheriff’s Office
Officer Jim Schiffler, c/o Boise City Police Department
Officer Steve Schneider, c/o Boise City Police Department
Officer Josh Schwenken, c/o Boise City Police Department
Officer Greg Sexton, c/o Boise City Police Department

mmm. Officer Jessica Stephens, c/o Boise City Police Department

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Officer Berle Stokes, c/o Meridian Police Department

Officer William Thomas, c/o Boise City Police Department

Officer Seth Washburn, c/o Meridian Police Department

Officer Kepa Zubizarreta, c/o Boise City Police Department

Sage Hickman, 911 Dispatch, c/o Ada County Sheriff's Office
Cynthia Hall, Idaho State Police, Bureau of Forensic Services, Lab
Analyst, c/o Idaho State Police, Meridian, Idaho

Rylene Nowlin, Idaho State Police, Bureau of Forensic Services, Lab
Analyst, c/o Idaho State Police, Meridian, Idaho

Bridget Kinney, c/o Boise City Police Department, Boise Crime Lab
Jennifer Delaney, c/o Boise City Police Department, Boise Crime Lab

www. Stuart Jacobsen, Idaho State Police, Bureau of Forensic Services,

XXX.

Ballistics, c/o Idaho State Police, Coeur d’ Alene, Idaho
Mike Blach, Phlebotomist, c/o Ada County Paramedics

RESPONSE TO DISCOVERY (MCGIBONEY), Page 11
yyy. Craig Brastrup, EMT, c/o Ada County Paramedics
zzZ. Barbara Clark, EMT, c/o Ada County Paramedics
aaaa. Robert Cole, EMT, c/o Ada County Paramedics
bbbb. Lane Corless, EMT, c/o Ada County Paramedics
cece. Dr. Aziz Munayirji, c/o St. Alphonsus Regional Medical Center
dddd. Dr. Michael Pool, c/o St. Alphonsus Regional Medical Center
eeee, Dr. Kristen Saak, c/o St. Alphonsus Regional Medical Center
ffff. Dr. Peter Angleton, c/o Idaho Emergency Physicians
ggge. Dr. Mark Henzler, c/o Idaho Emergency Physicians
hhhh. Mike Blach, c/o Ada County Paramedics, Phlebotomist who drew
Defendant’s blood pursuant to Detention Warrant
The prosecution is unaware of any felony convictions for the above witnesses.
However, the State does hereby disclose that Ryan Lowe was charged in Case No.
M0717482 with Delivery of Controlled Substance (Marijuana), which was dismissed on
March 13, 2008. There have been discussions with counsel for Mr. Lowe and the State’s
handling attorney in Case No. M0717482 for a misdemeanor resolution of Case No.
M0717482. However, once the State became aware of Case No. M0717482 and the
conflict with this case, the State is in the process of conflicting Case No. M0717482 to a
conflict prosecutor to handle that matter as the conflict prosecutor deems appropriate.

(7) Expert Witnesses:

a. The State intends to offer the testimony of Bridget Kinney as a Criminalist II
Expert Witness and Fingerprint Expert, pursuant to IL.R.E. 702, 703 and/or 705.
The State will elicit testimony from this expert witness regarding an explanation of
evidence processing, analysis, and testing as well as fingerprint processing and
comparison both in general terms in this field and in specific terms with regard to
this case as follows:

a The procedures she used in processing the physical evidence in this case;

RESPONSE TO DISCOVERY (MCGIBONEY), Page 12
a The physical evidence that was processed in this case, including but not
limited to, the bayonet/knife, the handgun, the magazine, spent casings and
live rounds and the other evidence as described in the property invoices
disclosed with this response;

a The results of processing the evidence in this case;

a_ The process of obtaining fingerprints from physical evidence in this case;

a The results of the fingerprint processing in this case;

a The process of fingerprint comparison in general and in this case;

a The results of the fingerprint comparison in this case and an explanation of
how those results were obtained;

a An interpretation of the results of the analysis, including opinions of the
expert witness regarding those results and analysis; and,

a The State will make Bridget Kinney available for questions from defense
counsel regarding all areas of her testimony upon request of the handling
prosecutor.

a The above list is not comprehensive. The testimony will include the above
areas, but the State is not limited to these areas depending on the results of the

testing and analysis that is in progress at this time.

b. The State intends to offer the testimony of Cynthia Hall or Rylene Nowlin, Idaho
State Police, Bureau of Forensic Services, Lab Analysts, pursuant to I.R.E. 702, 703
and/or 705. It appears that Rylene Nowling will be handling this case, but the State
reserves the right to call Cynthia Hall in the event she also handles any portion of
this case. The State will elicit testimony from these expert witnesses regarding an
explanation of evidence analysis, testing and DNA both in general terms in this field
and in specific terms with regard to this case as follows:

a Anexplanation of DNA;

a An explanation of what evidence was analyzed;

RESPONSE TO DISCOVERY (MCGIBONEY), Page 13
An explanation of how the evidence was analyzed;

An explanation of the results of the analysis, including statistical calculations;
An interpretation of the results of the analysis, including opinions of the
expert witness regarding those results and analysis; and,

The State will make these expert witnesses available for questions from
defense counsel regarding all areas of testimony upon request of the handling
prosecutor.

The above list is not comprehensive. The testimony will include the above
areas, but the State is not limited to these areas depending on the results of the

testing and analysis that is in progress at this time.

c. The State intends to offer the testimony of Stuart Jacobsen, Idaho State Police,

Bureau of Forensic Services, Ballistics expert, pursuant to LR.E. 702, 703 and/or

705. The State will elicit testimony from these expert witnesses regarding:

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An explanation of ballistics;

‘An explanation of what evidence was analyzed;

An explanation of how this evidence was analyzed;

An explanation of the results of the analysis;

An interpretation of the results of the analysis, including opinions of the
expert witness regarding those results and analysis; and,

The State will make this expert witness available for questions from defense
counsel regarding all areas of testimony upon request of the handling

prosecutor.

The above list is not comprehensive. The testimony will include the above

areas, but the State is not limited to these areas depending on the results of the

testing and analysis that is in progress at this time.

RESPONSE TO DISCOVERY (MCGIBONEY), Page 14
(8) Police Reports and Witness Statements: The prosecution possesses a number of

police reports, witness statements and other documents which are available upon written

request for review and/or photocopying. These documents are specifically identified in

Subparagraph 4(A) of this Response to Discovery.

a.

Boise Police Department General Report, DR #809-867 by Officer Josh Arend, xv
consisting of three (3) pages;

Boise Police Department Supplemental Report, DR #809-867 by Officer David A
Burgard, consisting of one (1) page;

Boise Police Department Supplemental Report, DR #809-867 by Officer
Michael Richmond, consisting of one (1) page; 0
Boise Police Department Supplemental Report, DR #809-867 by Officer Rob
Gallas, consisting of one (1) page;

Boise Police Department Supplemental Report, DR #809-867 by Officer Josh S)
Schwenken, consisting of one (1) page; \
Boise Police Department Supplemental Report, DR #809-867 by Detective Mark o
Ayotte, consisting of three (3) pages; w
Boise Police Department Supplemental Report, DR #809-867 by Detective Brian 9
Lee, consisting of three (3) pages;

Boise Police Department Supplemental Report, Continuation Page, DR #809- ws
867 by Officer John Mathis, consisting of one (1) page;

Meridian Police Department Supplemental Report, DR #809-867 by Officer
Berle Stokes, consisting of one (1) page;

Boise Police Department Supplemental Report, DR #809-867 by Officer Jim
Kling, consisting of one (1) page; Dd
Boise Police Department Supplemental Report, DR #809-867 by Officer
Michael Richmond, consisting of two (2) pages; nos

RESPONSE TO DISCOVERY (MCGIBONEY), Page 15
1. Boise Police Department Supplemental Report, DR #809-867 by Officer
Andrew Hilton, consisting of one (1) page;

m. Boise Police Department Supplemental Report, Continuation Page, DR #809- AX
867, by Officer Everett Corona, consisting of one (1) page;

n. Boise Police Department Supplemental Report, DR #809-867, by Officer “)
Andrew Linn, consisting of one (1) page;

o. Boise Police Department, Warrant Arrest Report, DR #809-993, by Officer A\
Corona, consisting of one (1) page; \

p. Boise Police Department, General Report, DR #809-886, by J. Kling, consisting wo
of two (2) pages; \'

q. Boise Police Department, Supplemental Report, by Det. M. Ayotte, regarding
serving the Detention Warrant and follow-up, to be provided upon receipt;

r. Written Statement by Travis Williams, DR #809-867, consisting of one (1) page; WA

s. Written Statement by Nick Anderson, DR #809-867, consisting of one (1) page; a0

t. Written Statement by Ryan Lowe, DR #809-867, consisting of two (2) pages;q'V V

u. Written Statement by April Williamson, DR #809-867, consisting of one (yi
page,

v. Written Statement by Michael Roberts, DR #809-867, consisting of one (1) page;

(9) With this discovery response, the State is giving the defendant notice that the
State intends to use facts set out in the police reports and other documents described and
outlined above as Idaho Criminal Rule 404(b) evidence. The State believes that evidence of
the defendant’s crimes, wrongs, or acts is admissible to prove motive, opportunity, intent,

preparation, plan, knowledge, identity, or absence of mistake or accident. Specifically the

RESPONSE TO DISCOVERY (MCGIBONEY), Page 16
State believes these facts, as described in the police reports provided with this Response to

Discovery, are admissible.

DATED this 9 day of July, 2008.

GREG H. BOWER
Ada County Prosecuting Attorney

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By: Jdn M. Bennetts
Deputy Prosecuting Attorney

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this eX day of July, 2008, I caused to be
served, a true and correct copy of the foregoing Response to Discovery upon the individual

named below in the manner noted:

Name and address: Edward Odessey, Ada County Public Defender’s Office, 200 West
Front Street, Room 1107, Boise, ID 83702

Q By depositing copies of the same in the United States mail, postage prepaid, first

class.
\ By depositing copies of the same in the Interdepartmental Mail.
a By informing the office of said individual(s) that said copies were available for
pickup at the Office of the Ada County Prosecutor.

a By faxing copies of the same to said attorney(s) at the facsimile number:

Maer cee

Legal. Assistant lam

RESPONSE TO DISCOVERY (MCGIBONEY), Page 17
